                                   UNITED STATES DISTRICT COURT

                                   MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )             Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )        Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )        PLAINTIFF’S MOTION FOR LEAVE TO
      vs.                                   )        FILE UNDER SEAL
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )




Cases\4837-8389-4471.v1-8/10/20
 Case 3:16-cv-02267               Document 261   Filed 08/10/20   Page 1 of 7 PageID #: 7703
          Pursuant to Rules 5.03 and 7.01 of the Civil Local Rules of Court (“L.R.”) and

Administrative Order No. 167-1: Administrative Practices and Procedures for Electronic Case

Filing §5.07, Plaintiff1 hereby moves the Court for leave to file under seal unredacted versions of

the Memorandum of Law in Support of Plaintiff’s Opposition to CoreCivic’s Motion to Determine

Sufficiency of Responses to CoreCivic’s First Set of Requests for Admission and Compel Further

Responses to CoreCivic’s First Set of Requests for Admission and Second Set of Interrogatories

(“Motion”), as well as the Declaration of Jason A. Forge in Support of Plaintiff’s Opposition to

CoreCivic’s Motion to Determine Sufficiency of Responses to CoreCivic’s First Set of Requests

for Admission and Compel Further Responses to CoreCivic’s First Set of Requests for Admission

and Second Set of Interrogatories and the exhibits thereto (“Forge Declaration”), which are being

filed contemporaneously herewith as “Sealed Documents.”2

          Under the Revised Stipulation and Protective Order (ECF No. 86) (“Protective Order”),

Plaintiff is required to “file[] under seal, redacted, or protected from public disclosure” any

document that it submits to the Court and that reflects “Confidential Discovery Material.”

Protective Order, ¶12. The Motion and Forge Declaration contain information produced by

Defendants in discovery and designated “Confidential.”

          Plaintiff does not believe grounds exist to overcome the strong presumption in favor of

openness as to court records. See Shane Grp., Inc. v. Blue Cross Blue Shield of Mich., 825 F.3d

299, 305 (6th Cir. 2016) (“Unlike information merely exchanged between the parties, ‘[t]he public


1
   “Plaintiff” is Lead Plaintiff and Class Representative Amalgamated Bank, as Trustee for the
LongView Collective Investment Fund. “Defendants” are Corrections Corporation of America
(“CCA”) and certain of its executives. Following the filing of this action, Defendants rebranded
CCA and now refer to it as CoreCivic.
2
    The Forge Declaration attaches documents that Defendants have designated as “Confidential,”
Plaintiff respectfully submits that filing a redacted version of the Forge Declaration is
impracticable.


                                                 -1-
Cases\4837-8389-4471.v1-8/10/20
    Case 3:16-cv-02267            Document 261   Filed 08/10/20   Page 2 of 7 PageID #: 7704
has a strong interest in obtaining the information contained in the court record.’”) (quoting Brown

& Williamson Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1180 (6th Cir. 1983) (alteration in

original).

          In any case, while the Court should allow the documents to be filed under seal pursuant to

L.R. 5.03, because Defendants are “the party who designated the materials as confidential or

otherwise seeks to restrict access to the materials,” the burden is on Defendants to demonstrate

“compelling reasons to seal the documents and that the sealing is narrowly tailored to those reasons

by specifically analyzing in detail, document by document, the propriety of secrecy, providing

factual support and legal citations,” in order for the documents to remain under seal. L.R. 5.03(a)-

(b).

 DATED: August 10, 2020                          ROBBINS GELLER RUDMAN & DOWD LLP
                                                 JASON A. FORGE



                                                                 s/ Jason A. Forge
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                                                 -2-
Cases\4837-8389-4471.v1-8/10/20
 Case 3:16-cv-02267               Document 261   Filed 08/10/20     Page 3 of 7 PageID #: 7705
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                                                 -3-
Cases\4837-8389-4471.v1-8/10/20
 Case 3:16-cv-02267               Document 261   Filed 08/10/20    Page 4 of 7 PageID #: 7706
                                      CERTIFICATE OF SERVICE
          I hereby certify under penalty of perjury that on August 10, 2020, I authorized the

electronic filing of the foregoing with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List,

and I hereby certify that I caused the mailing of the foregoing via the United States Postal Service

to the non-CM/ECF participants indicated on the attached Manual Notice List.

                                                   s/ Jason A. Forge
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Cases\4837-8389-4471.v1-8/10/20
 Case 3:16-cv-02267               Document 261   Filed 08/10/20     Page 5 of 7 PageID #: 7707
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               Case 3:16-cv-02267                      Document 261                  Filed 08/10/20        Page 6 of 7 PageID #: 7708
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              Case 3:16-cv-02267                      Document 261                 Filed 08/10/20                Page 7 of 7 PageID #: 7709
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